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6    Attorney for Defendant
     STEVEN KHAMKEUANEKEO
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8                                   UNITED STATES DISTRICT COURT

9                                  EASTERN DISTRICT OF CALIFORNIA
10                                                   ) Case No.: 2:15-cr-00115-TLN-1
     UNITED STATES OF AMERICA,
                                                     )
11                                                   ) STIPULATION AND ORDER TO
                           Plaintiff,                ) CONTINUE STATUS CONFERENCE
12                                                   )
     vs.                                             )
13                                                   )
     STEVEN KHAMKEUANEKEO                            )
14                                                   )
                  Defendant
                                                     )
15                                                   )
                                                     )
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            The United States of America, through its counsels of record, Phillip A. Talbert, United
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     States Attorney for the Eastern District of California, and Matthew Yelovich, Assistant United
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     States Attorney, and defendant Steven Khamkeuanekeo, through his attorney, Ronald Peters,
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21   Esq, hereby stipulate and agree that the status conference scheduled for August 24, 2017 at 9:30

22   am should be continued to August 31, 2017 at 9:30 a.m.
23
            Defense counsel has a previously out of the county Preliminary Hearing set for this
24
     morning and we are in the process of finding a residential rehabilitation facility which should be
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26   finalized by next week.

27          Parties agree that time should be excluded pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv), and
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                               STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE

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1    Local Code T-4 - reasonable time to prepare and for continuity of counsel. The parties agree that
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     time be excluded under this provision August 24, 2017 to and including August 31, 2017.
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                                                         Respectfully Submitted,
                                                         PHILLIP A. TALBERT
6                                                        United States Attorney
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8    DATE: August 22, 2017                               /s/ Matthew Yelovich _______
                                                          MATTHEW YELOVICH
9                                                        Assistant U.S. Attorney
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11   DATE: August 22, 2017                               /s/Ron Peters
                                                         RON PETERS
12                                                       Attorney for Defendant
                                                         Steven Khamkeuanekeo
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                               STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE

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1                                                       ORDER
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            The Court, having considered the stipulation of the parties, and good cause appearing
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     therefrom, adopts the stipulation of the parties in its entirety as its order. Based on the stipulation
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5
     of the parties, the Court finds that the failure to grant a continuance in this case would deny

6    defense counsel reasonable time necessary for effective preparation, taking into account the
7    exercise of due diligence, and defendant continuity of counsel. The Court specifically finds that
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     the ends of justice served by the granting of such continuance outweigh the interests of the public
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     and that the time from the date of the stipulation, August 22, 2017, to and including August 31,
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11   2017, at 9:30 a.m.

12           It is so ordered.
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     Date: August 22, 2017
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                                                                Troy L. Nunley
16                                                              United States District Judge

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                                 STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE

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